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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Echo Global Logistics, Inc.
                                   Plaintiff,
v.                                                   Case No.: 1:18−cv−05458
                                                     Honorable Charles R. Norgle Sr.
Linq Transport, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 13, 2018:


       MINUTE entry before the Honorable Charles R. Norgle: Motion hearing held on
8/13/2018. Motion hearing is continued to 8/14/2018 at 10:00 a.m. Mailed notice(ewf, )




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